           Case 2:05-cv-01195-LKK-DAD Document 36 Filed 08/31/10 Page 1 of 2




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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   EDWARD DON BROWN,

11                  Petitioner,                    No. CIV S-05-1195 LKK DAD P

12          vs.

13   WARDEN YATES,

14                  Respondent.                    ORDER

15                                       /

16                  Petitioner, a state prisoner proceeding pro se, has filed this application for a writ

17   of habeas corpus pursuant to 28 U.S.C. § 2254. The matter was referred to a United States

18   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

19                  On June 25, 2010, the magistrate judge filed findings and recommendations

20   herein which were served on all parties and which contained notice to all parties that any

21   objections to the findings and recommendations were to be filed within twenty-one days.

22   Petitioner has filed objections to the findings and recommendations.

23                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule

24   304, this court has conducted a de novo review of this case. Having carefully reviewed the entire

25   file, the court finds the findings and recommendations to be supported by the record and by

26   proper analysis.

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               Case 2:05-cv-01195-LKK-DAD Document 36 Filed 08/31/10 Page 2 of 2




 1                   Accordingly, IT IS HEREBY ORDERED that:

 2                   1. The findings and recommendations filed June 25, 2010, are adopted in full;

 3                   2. Petitioner’s January 8, 2010, “request for Fed. R. Civ. P. Rule 60(b)(1) hearing

 4   and motion for appointment of counsel” (Docket No. 24) is denied; and

 5                   3. For the reasons set forth in the magistrate judge’s June 25, 2010 findings and

 6   recommendations, the court finds that petitioner has not made a substantial showing of the denial

 7   of a constitutional right. Accordingly, a certificate of appealability should not issue in this

 8   action.

 9   DATED: August 30, 2010.

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